                                                                       Case 3:22-cv-08015-DJH Document 47 Filed 08/08/22 Page 1 of 13



                                                                 1   Brett W. Johnson (#021527)
                                                                     Tracy A. Olson (#034616)
                                                                 2   SNELL & WILMER L.L.P.
                                                                     One Arizona Center
                                                                 3   400 E. Van Buren, Suite 1900
                                                                     Phoenix, Arizona 85004-2202
                                                                 4   Telephone: 602.382.6000
                                                                     E-Mail: bwjohnson@swlaw.com
                                                                 5           tolson@swlaw.com
                                                                 6   Attorneys for Defendant T-Mobile USA, Inc.
                                                                 7
                                                                 8                        IN THE UNITED STATES DISTRICT COURT
                                                                 9                              FOR THE DISTRICT OF ARIZONA
                                                                10
                                                                11   Dr. Michael P. Ward, D.O. and Dr. Kelli
                                                                     Ward, D.O., husband and wife; and Mole           No. 3:22-cv-08015-SMB
             One Arizona Center, 400 E. Van Buren, Suite 1900




                                                                12   Medical Services, P.C., an Arizona
                                                                     Professional Corporation,                        DEFENDANT T-MOBILE USA,
                                                                13                                                    INC.’S ANSWER TO PLAINTIFFS’
Snell & Wilmer
                      Phoenix, Arizona 85004-2202




                                                                                      Plaintiffs,                     COMPLAINT
                                                                14
                             LAW OFFICES


                              602.382.6000




                                                                           v.                                         Assigned to: Hon. Diane Humetewa
                                   L.L.P.




                                                                15
                                                                     Bennie G. Thompson, in his official capacity
                                                                16   as Chairman of the House Select Committee
                                                                     to Investigate the January 6th Attack on the
                                                                17   United States Capitol; Select Committee to
                                                                     Investigate the January 6th Attack on the
                                                                18   United States Capitol, a committee of the
                                                                     United States House of Representatives; T-
                                                                19   Mobile USA, Inc., a Delaware Corporation,
                                                                20                    Defendants.
                                                                21
                                                                22                                  ANSWER TO COMPLAINT
                                                                23         For its Answer to Plaintiffs’ Amended Complaint, T-Mobile USA, Inc. (“T-Mobile”)
                                                                24   hereby admits, denies, and alleges as follows:
                                                                25                                      INTRODUCTION
                                                                26         1.     Answering Paragraph 1, T-Mobile admits that on January 24, 2022 T-
                                                                27   Mobile’s Legal and Emergency Response Team sent a letter to Plaintiff Mole Medical
                                                                28   Services PC regarding a Subpoena Duces Tecum from the United States House of
       Case 3:22-cv-08015-DJH Document 47 Filed 08/08/22 Page 2 of 13



 1   Representatives Select Committee to Investigate the January 6th Attack on the United
 2   States Capitol (the “Subpoena”). T-Mobile lacks sufficient knowledge or information to
 3   form a belief as to the date Plaintiffs received the letter, and on that basis the allegation is
 4   denied.
 5          2.     Answering Paragraph 2, T-Mobile admits that the January 19, 2022
 6   Subpoena called for the production of certain documents covering a date range from
 7   November 1, 2020 to January 31, 2021, and that the Subpoena requested information
 8   related to a phone number ending “4220.” T-Mobile denies the remaining allegations in
 9   the paragraph.
10          3.     Answering Paragraph 3, T-Mobile admits the phone number ending in 4220
11   is under an account with multiple lines. T-Mobile denies the remaining allegations in the
12   paragraph.
13          4.     Answering Paragraph 4, the paragraph states legal conclusions and no
14   response is required.
15          5.     Answering Paragraph 5, the paragraph states legal conclusions and no
16   response is required.
17                                              PARTIES
18          6.     Answering Paragraph 6, T-Mobile lacks sufficient knowledge or information
19   to form a belief as to the truth or falsity of the allegations, and on that basis the allegations
20   are denied.
21          7.     Answering Paragraph 7, T-Mobile lacks sufficient knowledge or information
22   to form a belief as to the truth or falsity of the allegations, and on that basis the allegations
23   are denied.
24          8.     Answering Paragraph 8, T-Mobile lacks sufficient knowledge or information
25   to form a belief as to the truth or falsity of the allegations, and on that basis the allegations
26   are denied.
27          9.     Answering Paragraph 9, T-Mobile lacks sufficient knowledge or information
28   to form a belief as to the truth or falsity of the allegations, and on that basis the allegations

                                                  -2-
       Case 3:22-cv-08015-DJH Document 47 Filed 08/08/22 Page 3 of 13



 1   are denied.
 2          10.    Answering Paragraph 10, T-Mobile lacks sufficient knowledge or
 3   information to form a belief as to the truth or falsity of the allegations, and on that basis
 4   the allegations are denied.
 5          11.    Answering Paragraph 11, T-Mobile admits that it is a Delaware corporation
 6   Plaintiffs’ Complaint names T-Mobile only as a necessary party but does not state any
 7   allegations of wrongdoing or assert any claim or cause of action against T-Mobile. T-
 8   Mobile denies the remaining allegations in the paragraph.
 9                                 JURISDICTION AND VENUE
10          12.    Answering Paragraph 12, the paragraph states legal conclusions and no
11   response is required.
12          13.    Answering Paragraph 13, the paragraph states legal conclusions and no
13   response is required. To the extent a response is required, T-Mobile lacks sufficient
14   knowledge or information to either admit or deny the factual allegations therein, and on
15   that basis they are denied.
16                    BACKGROUND AND GENERAL ALLEGATIONS
17          14.    T-Mobile lacks sufficient knowledge or information to form a belief as to the
18   truth or falsity of the allegations in Paragraph 14, and on that basis the allegations are
19   denied.
20          15.    T-Mobile lacks sufficient knowledge or information to form a belief as to the
21   truth or falsity of the allegations in Paragraph 15, and on that basis the allegations are
22   denied.
23          16.    T-Mobile lacks sufficient knowledge or information to form a belief as to the
24   truth or falsity of the allegations in Paragraph 16, and on that basis the allegations are
25   denied.
26          17.    T-Mobile lacks sufficient knowledge or information to form a belief as to the
27   truth or falsity of the allegations in Paragraph 17, and on that basis the allegations are
28   denied.

                                                -3-
       Case 3:22-cv-08015-DJH Document 47 Filed 08/08/22 Page 4 of 13



 1         18.    T-Mobile lacks sufficient knowledge or information to form a belief as to the
 2   truth or falsity of the allegations in Paragraph 18, and on that basis the allegations are
 3   denied.
 4         19.    T-Mobile lacks sufficient knowledge or information to form a belief as to the
 5   truth or falsity of the allegations in Paragraph 19, and on that basis the allegations are
 6   denied.
 7         20.    T-Mobile lacks sufficient knowledge or information to form a belief as to the
 8   truth or falsity of the allegations in Paragraph 20, and on that basis the allegations are
 9   denied.
10         21.    T-Mobile lacks sufficient knowledge or information to form a belief as to the
11   truth or falsity of the allegations in Paragraph 21, and on that basis the allegations are
12   denied.
13         22.    T-Mobile lacks sufficient knowledge or information to form a belief as to the
14   truth or falsity of the allegations in Paragraph 22, and on that basis the allegations are
15   denied.
16         23.    T-Mobile lacks sufficient knowledge or information to form a belief as to the
17   truth or falsity of the allegations in Paragraph 23, and on that basis the allegations are
18   denied.
19         24.    T-Mobile lacks sufficient knowledge or information to form a belief as to the
20   truth or falsity of the allegations in Paragraph 24, and on that basis the allegations are
21   denied.
22         25.    T-Mobile lacks sufficient knowledge or information to form a belief as to the
23   truth or falsity of the allegations in Paragraph 25, and on that basis the allegations are
24   denied.
25         26.    T-Mobile lacks sufficient knowledge or information to form a belief as to the
26   truth or falsity of the allegations in Paragraph 26, and on that basis the allegations are
27   denied.
28         27.    Answering Paragraph 27, T-Mobile admits the Subpoena requests T-Mobile

                                               -4-
       Case 3:22-cv-08015-DJH Document 47 Filed 08/08/22 Page 5 of 13



 1   produce certain documents associated with a phone number ending in “4220.” T-Mobile
 2   denies the remaining allegations in the paragraph.
 3          28.    Answering Paragraph 28, T-Mobile admits the Subpoena requests records
 4   from T-Mobile. To the extent the paragraph restates or quotes Exh. A to the Complaint, the
 5   document speaks for itself. T-Mobile denies the remaining allegations in the paragraph.
 6          29.    Answering Paragraph 29, T-Mobile admits the Subpoena requests records
 7   from T-Mobile. To the extent the paragraph restates or quotes Exh. A to the Complaint, the
 8   document speaks for itself. T-Mobile denies the remaining allegations in the paragraph.
 9          30.    Answering Paragraph 30, T-Mobile admits the Subpoena requests records
10   from T-Mobile. To the extent the paragraph restates or quotes Exh. A to the Complaint, or
11   an online website, the documents speak for themselves. T-Mobile denies the remaining
12   allegations in the paragraph.
13          31.    Answering Paragraph 31, the paragraph states legal conclusions and no
14   response is required.
15          32.    Answering Paragraph 32, the paragraph states legal conclusions and no
16   response is required.
17          33.    Answering Paragraph 33, the paragraph states legal conclusions and no
18   response is required.
19          34.    Answering Paragraph 34, the paragraph states legal conclusions and no
20   response is required.
21          35.    Answering Paragraph 35, T-Mobile lacks sufficient knowledge or
22   information to form a belief as to the truth or falsity of the allegations, and on that basis
23   the allegations are denied.
24          36.    Answering Paragraph 36, the paragraph states legal conclusions and no
25   response is required.
26                                   FIRST CAUSE OF ACTION
27                           Declaratory Judgment and Injunctive Relief
28        The Subpoena is an Ultra vires Action by the Committee and Thus Invalid

                                                -5-
       Case 3:22-cv-08015-DJH Document 47 Filed 08/08/22 Page 6 of 13



 1                                     (Against All Defendants)
 2          37.    Answering Paragraph 37, T-Mobile admits and denies the allegations as
 3   stated in its response to each paragraph.
 4          38.    Answering Paragraph 38, T-Mobile admits that the Subpoena requests T-
 5   Mobile produce records associated with a phone number ending in “4220.” T-Mobile lacks
 6   sufficient knowledge or information to form a belief as to the truth or falsity of the
 7   remaining allegations, and on that basis the allegations are denied.
 8          39.    Answering Paragraph 39, T-Mobile lacks sufficient knowledge or
 9   information to form a belief as to the truth or falsity of the allegations, and on that basis
10   the allegations are denied.
11          40.    Answering Paragraph 40, the paragraph states legal conclusions and no
12   response is required. To the extent that Paragraph 40 contains or relies on any factual
13   allegations, T-Mobile lacks sufficient knowledge or information to form a belief as to the
14   truth or falsity of the remaining allegations, and on that basis the allegations are denied.
15          41.    Answering Paragraph 41, the paragraph states legal conclusions and no
16   response is required. To the extent that Paragraph 41 contains or relies on any factual
17   allegations, T-Mobile lacks sufficient knowledge or information to form a belief as to the
18   truth or falsity of the remaining allegations, and on that basis the allegations are denied.
19          42.    Answering Paragraph 42, the paragraph states legal conclusions and no
20   response is required. To the extent that Paragraph 42 contains or relies on any factual
21   allegations, T-Mobile lacks sufficient knowledge or information to form a belief as to the
22   truth or falsity of the remaining allegations, and on that basis the allegations are denied.
23          43.    Answering Paragraph 43, the paragraph states legal conclusions and no
24   response is required. To the extent that Paragraph 43 contains or relies on any factual
25   allegations, T-Mobile lacks sufficient knowledge or information to form a belief as to the
26   truth or falsity of the remaining allegations, and on that basis the allegations are denied.
27          44.    Answering Paragraph 44, T-Mobile lacks sufficient knowledge or
28   information to form a belief as to the truth or falsity of the allegations in the first sentence,

                                                  -6-
       Case 3:22-cv-08015-DJH Document 47 Filed 08/08/22 Page 7 of 13



 1   and on that basis the allegations are denied. The second sentence states legal conclusions
 2   and no response is required.
 3          45.      Answering Paragraph 45, T-Mobile lacks sufficient knowledge or
 4   information to form a belief as to the truth or falsity of the allegations in the first sentence,
 5   and on that basis the allegations are denied. The second sentence states legal conclusions
 6   and no response is required.
 7                                 SECOND CAUSE OF ACTION
 8                Violation of the 1st Amendment to the United States Constitution
 9                 (Against Defendants Chairman Thompson and the Committee)
10          46.      Answering Paragraph 46, T-Mobile admits and denies the allegations as
11   stated in its response to each paragraph.
12          47.      Answering Paragraph 47, the paragraph states legal conclusions and no
13   response is required.
14          48.      Answering Paragraph 48, the paragraph states legal conclusions and no
15   response is required.
16          49.      Answering Paragraph 41, the paragraph states legal conclusions and no
17   response is required. T-Mobile lacks sufficient knowledge or information to form a belief
18   as to the truth or falsity of the allegations, and on that basis they are denied.
19          50.      Answering Paragraph 50, the paragraph states legal conclusions and no
20   response is required.
21          51.      Answering Paragraph 51, T-Mobile admits the Subpoena seeks connection
22   records and records of session times and durations of calls made to and from a phone
23   number ending in 4220, as well as other phone numbers associated with the same account,
24   for the time period November 1, 2020 to January 31, 2021. T-Mobile lacks sufficient
25   knowledge or information to form a belief as to the truth or falsity of the remaining
26   allegations in the paragraph, and on this basis they are denied.
27          52.      Answering Paragraph 52, the paragraph states legal conclusions and no
28   response is required. To the extent that Paragraph 52 contains or relies on any factual

                                                  -7-
       Case 3:22-cv-08015-DJH Document 47 Filed 08/08/22 Page 8 of 13



 1   allegations, T-Mobile lacks sufficient knowledge or information to form a belief as to the
 2   truth or falsity of the remaining allegations, and on that basis the allegations are denied.
 3          53.     Answering Paragraph 53, the paragraph states legal conclusions and no
 4   response is required. To the extent that Paragraph 53 contains or relies on any factual
 5   allegations, T-Mobile lacks sufficient knowledge or information to form a belief as to the
 6   truth or falsity of the remaining allegations, and on that basis the allegations are denied.
 7          54.     Answering Paragraph 54, the paragraph states legal conclusions and no
 8   response is required. To the extent that Paragraph 54 contains or relies on any factual
 9   allegations, T-Mobile lacks sufficient knowledge or information to form a belief as to the
10   truth or falsity of the remaining allegations, and on that basis the allegations are denied.
11          55.     Answering Paragraph 55, T-Mobile lacks sufficient knowledge or
12   information sufficient to form a belief as to the truth or falsity of the allegations in the
13   paragraph, and on that basis they are denied.
14          56.     Answering Paragraph 56, T-Mobile lacks sufficient knowledge or
15   information sufficient to form a belief as to the truth or falsity of the allegations in the
16   paragraph, and on that basis they are denied.
17          57.     Answering Paragraph 57, the paragraph states legal conclusions and no
18   response is required. To the extent that Paragraph 57 contains or relies on any factual
19   allegations, T-Mobile lacks sufficient knowledge or information to form a belief as to the
20   truth or falsity of the remaining allegations, and on that basis the allegations are denied.
21          58.     Answering Paragraph 58, the paragraph states legal conclusions and no
22   response is required.
23          59.     Answering Paragraph 59, to the extent the allegations are directed at T-
24   Mobile, they are denied.
25                                 THIRD CAUSE OF ACTION
26                Violation of State and Federal Statutory Privilege Protections
27                (Against Defendants Chairman Thompson and the Committee)
28          60.     Answering Paragraph 60, T-Mobile admits and denies the allegations as

                                                 -8-
       Case 3:22-cv-08015-DJH Document 47 Filed 08/08/22 Page 9 of 13



 1   stated in its response to each paragraph.
 2          61.    Answering Paragraph 61, the paragraph states legal conclusions and no
 3   response is required.
 4          62.    Answering Paragraph 62, the paragraph states legal conclusions and no
 5   response is required.
 6          63.    Answering Paragraph 63, the paragraph states legal conclusions and no
 7   response is required.
 8          64.    Answering Paragraph 64, the paragraph states legal conclusions and no
 9   response is required. To the extent that Paragraph 64 contains or relies on any factual
10   allegations, T-Mobile lacks sufficient knowledge or information to form a belief as to the
11   truth or falsity of the remaining allegations, and on that basis the allegations are denied.
12        65.      Answering Paragraph 65, the paragraph states legal conclusions and no
13   response is required. To the extent that Paragraph 65 contains or relies on any factual
14   allegations, T-Mobile lacks sufficient knowledge or information to form a belief as to the
15   truth or falsity of the remaining allegations, and on that basis the allegations are denied
16          66.    Answering Paragraph 66, the paragraph states legal conclusions and no
17   response is required.
18          67.    Answering Paragraph 67 the paragraph states legal conclusions and no
19   response is required. To the extent that Paragraph 67 contains or relies on any factual
20   allegations, T-Mobile lacks sufficient knowledge or information to form a belief as to the
21   truth or falsity of the remaining allegations, and on that basis the allegations are denied
22          68.    Answering Paragraph 68, the paragraph states legal conclusions and no
23   response is required.
24          69.    Answering Paragraph 69, the paragraph states legal conclusions and no
25   response is required.
26          70.    Answering Paragraph 70, the paragraph states legal conclusions and no
27   response is required.
28          71.    T-Mobile lacks sufficient knowledge or information to form a belief as to the

                                                 -9-
      Case 3:22-cv-08015-DJH Document 47 Filed 08/08/22 Page 10 of 13



 1   truth or falsity of the allegations in the paragraph, and on that basis they are denied.
 2          72.     The allegations in paragraph 72 are legal conclusions, and on this basis T-
 3   Mobile denies.
 4          73.     Answering Paragraph 73, the paragraph states legal conclusions and no
 5   response is required.
 6                                FOURTH CAUSE OF ACTION
 7                    Violation of the Rules of the House of Representatives
 8                (Against Defendants Chairman Thompson and the Committee)
 9          74.     Answering Paragraph 74, T-Mobile admits and denies the allegations as
10   stated in its response to each paragraph.
11          75.     Answering Paragraph 75, T-Mobile lacks sufficient knowledge or
12   information sufficient to form a belief as to the truth or falsity of the allegations in the
13   paragraph, and on that basis, they are denied.
14          76.     Answering Paragraph 76, T-Mobile lacks sufficient knowledge or
15   information sufficient to form a belief as to the truth or falsity of the allegations in the
16   paragraph, and on that basis they are denied.
17          77.     Answering Paragraph 77, T-Mobile lacks sufficient knowledge or
18   information to form a belief as to the truth or falsity of the allegations in the paragraph, and
19   on that basis they are denied.
20          78.     Answering Paragraph 78, T-Mobile lacks sufficient knowledge or
21   information to form a belief as to the truth or falsity of the allegations in the paragraph, and
22   on that basis they are denied.
23          79.     Answering Paragraph 79, T-Mobile lacks sufficient knowledge or
24   information to form a belief as to the truth or falsity of the allegations in the paragraph, and
25   on that basis they are denied.
26          80.     Answering Paragraph 80, the paragraph states legal conclusions and no
27   response is required. To the extent that Paragraph 80 contains or relies on any factual
28   allegations, T-Mobile lacks sufficient knowledge or information to form a belief as to the

                                                 - 10 -
      Case 3:22-cv-08015-DJH Document 47 Filed 08/08/22 Page 11 of 13



 1   truth or falsity of the remaining allegations, and on that basis the allegations are denied
 2          81.    Answering Paragraph 81, the paragraph states legal conclusions and no
 3   response is required. To the extent that Paragraph 81 contains or relies on any factual
 4   allegations, T-Mobile lacks sufficient knowledge or information to form a belief as to the
 5   truth or falsity of the remaining allegations, and on that basis the allegations are denied
 6          82.    Answering Paragraph 82, the paragraph states legal conclusions and no
 7   response is required.
 8          83.    Answering Paragraph 83, the paragraph states legal conclusions and no
 9   response is required.
10          84.    The allegations in paragraph 84 are legal conclusions, and on this basis T-
11   Mobile denies.
12          85.    T-Mobile admits that the Subpoena issued to T-Mobile requested production
13   of records. The remaining allegations in paragraph 85 are legal conclusions, and on that
14   basis T-Mobile denies.
15          86.    The allegations in paragraph 86 are legal conclusions, and on that basis T-
16   Mobile denies.
17          87.    The allegations in paragraph 87 are legal conclusions, and on that basis T-
18   Mobile denies.
19          88.    The allegations in paragraph 88 are legal conclusions, and on that basis T-
20   Mobile denies.
21          89.    The allegations in paragraph 89 are legal conclusions, and on that basis T-
22   Mobile denies.
23          90.    The allegations in paragraph 90 are legal conclusions, and on that basis T-
24   Mobile denies.
25          91.    The allegations in paragraph 91 are legal conclusions, and on that basis T-
26   Mobile denies.
27                                 AFFIRMATIVE DEFENSES
28          T-Mobile denies all allegations of the Complaint, including prayers for relief, not

                                                - 11 -
      Case 3:22-cv-08015-DJH Document 47 Filed 08/08/22 Page 12 of 13



 1   expressly admitted in the Answer. The following defenses are applicable, where
 2   appropriate, to Plaintiffs’ claims for relief.
 3          1.      Plaintiffs’ Complaint fails to state a claim against T-Mobile upon which
 4   this Court may grant relief.
 5          2.      To the extent Plaintiffs’ Complaint alleges T-Mobile has obligations under
 6   the Health Insurance Portability and Accountability Act and Arizona’s physician-patient
 7   privileges, T-Mobile does not.
 8          3.      T-Mobile may have further and additional defenses which are not yet known
 9   but which may become known through future discovery. T-Mobile asserts herein each and
10   every affirmative defenses as may be ascertained through future discovery, including those
11   required by Rules 8 and 12 of the Federal Rules of Civil Procedure.
12                                     PRAYER FOR RELIEF
13          WHEREFORE, T-Mobile, having fully answered Plaintiffs’ Complaint, T-Mobile
14   requests that this matter be dismissed with prejudice as to T-Mobile. T-Mobile reserves the
15   right to seek an award of costs and fees, including but not limited to attorneys’ fees incurred
16   herein, pursuant to 42 U.S.C. § 1988, and other applicable law or authority, and for such
17   other and further relief as the Court deems just and proper.
18
19          DATED this 8th day of August, 2022.
                                                           SNELL & WILMER L.L.P.
20
21
                                                       By: /s/ Brett W. Johnson
22                                                        Brett W. Johnson
                                                          Tracy A. Olson
23                                                        One Arizona Center
                                                          400 E. Van Buren, Suite 1900
24                                                        Phoenix, Arizona 85004-2202
25
26
27
28

                                                  - 12 -
      Case 3:22-cv-08015-DJH Document 47 Filed 08/08/22 Page 13 of 13



 1                                 CERTIFICATE OF SERVICE
 2         I certify that on August 8th, 2022 I electronically transmitted the attached document
 3   to the Clerk’s Office using the CM/ECF System for filing, which electronically sends a
 4   copy of same on to:
 5   Alexander Kolodin
     Roger Strassburg
 6   Veronica Lucero
     Arno Naeckel
 7   The Davillier Law Group, LLC
     4105 North 20th Street, Suite 110
 8   Phoenix, AZ 85016
     akolodin@davillierlawgroup.com
 9   rstrassburg@davillierlawgroup.com
     vlucero@davillierlawgroup.com
10   anaeckel@davillierlawgroup.com
     phxadmin@davillierlawgroup.com
11
     Laurin Mills
12   Samek Werther Mills, LLC
     2000 Duke Street, Suite 300
13   Alexandria, VA 22314
     laurin@samek-law.com
14
     Douglas N. Letter
15   Todd B. Tatelman
     Eric R. Columbus
16   Michelle S. Kallen
     Stacie M. Fahsel
17   Office Of General Counsel
     U.S. House Of Representatives
18   5140 O’Neill House Office Building
     Washington, D.C. 20515
19   Telephone: (202) 225-9700
     Douglas.Letter@mail.house.gov
20   Attorneys for Congressional Defendants
21
22   s/ Richard A. Schaan
23
24
25
26
27
28

                                              - 13 -
